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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
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DONNA KOLODZIESKI,                                         CASE NO. 1:17-cv-01702-MWB

              Plaintiff,

       vs.

CAPITAL ONE BANK (USA), NATIONAL
ASSOCIATION; EXPERIAN INFORMATION
SOLUTIONS, INC.; TRANSUNION, LLC; and
EQUIFAX INFORMATION SERVICES, LLC

            Defendants.
______________________________________________________________________________

         ORDER OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT
                          TRANS UNION, LLC ONLY
______________________________________________________________________________

       Plaintiff Donna Kolodzieski, by counsel, and Defendant Trans Union, LLC, by counsel,

having filed their Stipulation Of Dismissal With Prejudice Between Plaintiff And Defendant Trans

Union, LLC, AND THE COURT, having been duly advised, NOW FINDS that the same should

be granted.

       IT IS, THEREFORE, ORDERED that all claims of Plaintiff Donna Kolodzieski against

Defendant Trans Union, LLC are dismissed, with prejudice. Plaintiff Donna Kolodzieski and

Defendant Trans Union, LLC shall each bear their own costs and attorneys’ fees.

        May 2, 2018                                     s/ Matthew W. Brann
Date: ________________________                        ____________________________________
                                                      Matthew W. Brann
                                                      United States District Judge




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